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                            UNITED STATES DISTRICT COURT
                             hIlDDLE DISTRICT O F FLORIDA
                                JACKSONVILLE DIVISION


ERYEST SEHRINGER,

               Plaintiff,

                                                              Case No. 3:07-CV-354-J-25TEilI

BIG LOTS, INC., etc.,

               Defendant.
                                      1



                                            ORDER

       Before the Court is the Honorable '~homas E. Morris Magistrate Judgc's report and

recommendation (Dkt. 25). and the record herein. Defendant has filed an objection to the report and

recommendation (Dkt. 26). Upon considcration, the Court finds as t'ollows:

Standard

       Determining whcther the Court can exercise personal jurisdiction over a nonresident

defendant requires a two-part analysis. First. a Court must determine whether the Florida long-

arm statute provides a basis for personal jurisdiction. If so. the Court nlust deternline whether

sufficient minimum contacts exist between the defendant and the forum state so as to satisfy

"traditional notions offair play and substantial justice" under the Due Process Clause of the

Fourteenth Amendment. Kobirisorl v. Giarntarco & Bill, P.C., 74 F. 3d 253. 256 ( 1 l h Cir.

1996)(internal citations and quotations omitted).' As stated in Meicr cx rel. A4cicr v. Sun 1rttel.n.



        ' To streamline this Order. the Court will omit many internal citations and quotations.
                                                  1
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Hotels, Ltd, 388 F.3d 1264. 1272 ( 1 lthCir. 2002):

        Generally. a foreip parent corporation is not subject to the jurisdiction of a

       forum state merely because a subsidiary is doing business there. Cot~solid~~ted,

       2 16 F.3d at 1293. "On the other hand. if the subsidiary is merely an agent through

       whlch the parent company conducts business in a particular jurisdiction or its

       separate corporate status is fonnal only and without any semblance of individual

       identity. then the subsidiary's business will be viewcd as that of the parent and the

       latter will be said to be doing business in the jurisdiction through the subsidiary

       for purposes of asserting personal jurisdiction." Charles Alan Wright 8: Arthur R.

       Miller. Federal Practice and Procedure S 1069.4 (3d cd. 2002) (citations omitted).

       In order to establish jurisdiction over the [Defendants]. therefore. Plaintiff must

       persuade the court that the Florida Subsidiaries are the entities through which the

       [Defendants] conduct substantial business activity in Florida. Coitsoliclcrted at

       1293-94.

Analysis

             Defcndant objccts primarily to the Magistrate Judge's tindings regarding the

   sufficiency of service of process and whether it has subjected itself to personal jurisdiction in

   this Court. To support its arguments. Defendant first objects to the finding that it exerts

   substantial operational control of Big Lots Store's Inc.'~locations and also the finding that

   there is a strong unity of financial interest between Big Lots. Inc. and its subsidiary retail

   stores.

             A review ol'lhe report and rccommcndalion demonstrates that the Magistrale Judge's
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 findings on these points did not depend on any one specific fact. Rather. the Magistrate

 Judge considered, iutei. alia. Big Lots, Inc. Form 10-K, Pension Plan and Big Lots, Inc.'s

  1996 Performance Incentive Plan.      Rather than considering the documents in isolation. the

  Magistrate Judge considered the "collective activities" of Defendant when determining that

 Big Lots Stores. Inc. is a vehicle through which Big Lots. Inc. conducts its business. This

 Court agrees that thcse activities satisfy Florida's long arm statute.

         Similarly, these activities constitute sufficient minimum contacts between the

 Defendant and Florida so as to satisfy "traditional notions of fair play and substantial justice"

  under the Due Process Clause of the Fourteenth Amendment. As noted in the Report and

  Recommendation, this suit arises from an alleged breach of contract regarding stock options

 provided by Big Lots. Inc. Defendant operates more than a hundred retail stores in Florida

  and markets its wares to Florida citizens. Further, the Court agrees that the burden on

  Defendant to defend this action here is slight and Florida has an interest in this action.

         Defendant also objects to the Magistrate Judge's failure to consider its May 14. 2007

  Memorandum. According to Defendant. its six page Motion to Dismiss filed in State Court

  did not contain a memorandum of legal authority despite the fact that it included "some

  citation" and an affidavit in support of the requested relief. The Court is unsure how a

  pleading containing legal citation could r~otbe considered to include a memorandum of legal

  authority. Both this memorandum and Plaintiff's opposition thereto are due to be stricken.

          Defendant also contends that the "Magistrate Judge allowed Plaintiff to inject a new

  agency theory" into the ease. The proper response. of course. to an opposition that addresses

  matters beyond the original pleading is the tiling of a motion to strike. The Court sin~ply
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 should not be cxpected to entertain multiple memoranda from each side dealing with the

 same matter. Moreover. the Magistrate Judge's nding did not depend on a "new theory."

         Defendant also complains that service on an employee of its subsidiary's registered

 agent is improper. The Court agrees with the Magistrate Judge that sufficient operational

 control over Defendant's subsidiary existed; substitute senrice was permissible in this case.

         Lastly. regarding Defendant's request to dismiss Count 11, this Court agrees with the

 Magistrate Judge that the relevant remedies and claims are not inconsistent so as to warrant

 dismissal. The dismissal request is due to be denied. In sum, after independent review of

 the record and upon consideration of Judge Morris's report and recommendation. the Court

 adopts the report and recommendation in all respects. Accordingly. it is ORDERED:

         1. Plaintift's Objection to the Magistrate Judge's Report and Recommendation (Dkt

 26) is overruled: the Report and Recommendation (Dkt. 25) is adopted and incorporated by

 reference:

         2. The Motion to Dismiss and Quash Service of Process (Dkt 3) is DENIED:

         3. Plaintit't's Motion for an Order Directing Clerk to Issue Summons (Dkt 16) is

 DENIED as moot:

         4. Plaintiff's Request for an Evidentiary Hearing (Dkt. 14) is DENIED; and

         5. The Clerk is directed to STRIKE the Defendant's Memorandum in Support of

  Defendant's Motion to Dismiss (Dkt. I I ) as wzll as Plaintift's Opposition (Dkt 13) to same
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 from the record.

  DONE AND ORDERED at Jacksonville. Florida this   3 day of -2007.



 Copies to:
 Counsel of Record
